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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

                                                            )
        UNITED STATES OF AMERICA, et al.,                   )
                                                            )
                              Plaintiffs,                   )
                                                            )
        v.                                                  )   Civil Action No. 1:23-cv-10511-WGY
                                                            )
       JETBLUE AIRWAYS CORPORATION and                      )
       SPIRIT AIRLINES, INC.,                               )
                                                            )
                              Defendants.                   )
                                                            )
                                                            )

     DEFENDANTS’ MEMORANDUM OF LAW IN SUPPORT OF SUPPLEMENTAL
    MOTION TO SEAL CERTAIN TRIAL EXHIBITS AND FOR LIMITED CLOSING OF
                   COURTOOM TO PUBLIC DURING TRIAL

         Defendants JetBlue Airways Corporation (“JetBlue”) and Spirit Airlines, Inc. (“Spirit”)

(collectively, “Defendants”) respectfully move the Court under Local Rule 7.2 and the Joint

Confidentiality Protocol for Party Documents (Dkt. No. 166) (the “Joint Confidentiality

Protocol”)1 to seal in their entirety certain highly sensitive trial exhibits relating to Defendants’

future, post-merger network plans, as listed in Appendix D (collectively, the “Combined Network

Plan Documents”).2 In addition, due to the highly sensitive nature of these documents and the

future plans contained therein, Defendants respectfully request that the Court order that any




1
    Approved by the Court via electronic order on September 12, 2023 (Dkt. No. 187).
2
 The documents identified in Appendix D have been extensively discussed by the parties
pursuant to the Joint Confidentiality Protocol. In addition to those documents, there are
additional documents and versions of documents on the parties’ exhibit lists that are part of the
“Combined Network Plan” that have not yet been discussed by the parties (because they were
not subject to review under the Joint Confidentiality Protocol). To the extent the parties
determine that any additional document that is part of the Combined Network Plan is likely to be
used at trial, Defendants will seek additional relief from the Court.
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witness examination likely to elicit the contents of the Combined Network Plan Documents be

held in a closed session. Finally, Defendants also request that counsel be prohibited from publicly

disclosing the contents of the Combined Network Plan Documents at trial, including during

opening or closing arguments, except with respect to the limited, high-level information that was

already made public in the parties’ pre-trial briefs.

       Defendants do not make these requests lightly. Defendants are constrained to seek sealing

of the Combined Network Plan Documents in their entirety and to prevent public testimony or

attorney argument disclosing the contents of those documents in order to prevent significant

competitive harm that would occur if JetBlue’s future, post-merger network plans were made

known to its competitors.

       Plaintiffs have indicated that they will file an opposition to this motion.

                                           DISCUSSION

  I.   The Combined Network Plan Is Competitively Sensitive and Sealing Is Warranted

       The Combined Network Plan Documents contain the forward-looking blueprints for the

post-merger combined airline. As articulated in Defendants’ initial Motion to Seal (Dkt. No. 293),

the Combined Network Plan is among the most competitively sensitive information at JetBlue.

While Defendants recognize the strong public interest in making trial exhibits and testimony

available to the public, the presumption of public access is outweighed by the irreparable harm

that would occur if the Combined Network Plan Documents were disclosed publicly.

       The public right of access to judicial records is favored but is “not absolute.” FTC v.

Standard Fin. Mgmt. Corp., 830 F.2d 404, 407 (1st Cir. 1987). In appropriate cases, “important

countervailing interests can . . . overwhelm the usual presumption.” Siedle v. Putnam Invs., Inc.,

147 F.3d 7, 10 (1st Cir. 1998). Here, as in all merger challenges under the Clayton Act, the

evidence will necessarily include competitively sensitive party and non-party evidence concerning
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future business plans and the future competitive environment. Declaration of Laura E. Rodgers,

Director, Regulatory & Litigation Counsel, JetBlue Airways Corporation; see United States v.

Baker Hughes Inc., 908 F.2d 981, 991 (D.C. Cir. 1990) (an analysis under Section 7 of the Clayton

Act requires “predicting future competitive conditions in a given market”). Courts presiding over

merger challenges and other antitrust matters involving future business plans have routinely sealed

documents in cases where disclosure would likely cause competitive harm. See, e.g., United States

v. Sabre Corp., 452 F. Supp. 3d 97, 149 (D. Del. 2020), vacated on other grounds, No. 20-1767,

2020 WL 4915824 (3d Cir. July 20, 2020) (“The issue often emerges in trials of government

challenges to a proposed merger based on antitrust concerns, during which witnesses almost

inevitably discuss sensitive business information such as prices, forward-looking strategy, and

analyses of competitive conditions”); F.T.C. v. OSF Healthcare Sys., No. 11-cv-50344, 2012 WL

1144620, at *10-11 (N.D. Ill. Apr. 5, 2012) (sealing documents discussing “future opportunities,”

“budgeting and forecasting information,” “confidential discussions regarding … market

assessments,” “post-affiliation strategic plans,” and “discussions of future goals and strategies”);

United States v. Bertelsmann SE & Co. KGaA, et al., No. 1:21-cv-2886 (D.D.C.) (minute order

granting motion to permanently seal certain trial exhibits containing “forward-looking business

strategies. . . and business projections”).

        The Combined Network Plan Documents contain the post-merger airline’s future growth

plans, including the new non-stop routes that would be offered and the specific cities and regions

where the combined entity plans to expand service. See Rodgers Decl. at ¶ 4. It is thus exactly

the type of forward-looking information that is appropriate for sealing in its entirety.3 See


3
 Defendants anticipate that Plaintiffs will argue in their opposition that the Combined Network
Plan Documents, while competitively sensitive, can be redacted and need not be sealed in their
entirety. Defendants respectfully disagree. JetBlue has carefully considered the possibility of

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Morawski v. Lightstorm Ent., Inc., No. 11-CV-10294, 2013 WL12122289, at *2 (C.D. Cal. Jan.

14, 2013) (sealing documents containing proprietary information regarding “methodology and

prospective projects” where “public disclosure of the contents could harm defendants’ competitive

standing”). Public disclosure of the Combined Network Plan Documents would enable JetBlue’s

competitors to obtain highly competitively sensitive information about where, when, and how the

combined entity will fly in the future. Disclosure of this information would undermine the benefits

of the transaction, as JetBlue’s competitors would be equipped with key information they can

leverage to unfairly compete, such as targeting growth or impeding entry in the very places JetBlue

seeks to grow. The need to prevent this type of competitive harm outweighs the public’s right to

access the contents of the Combined Network Plan Documents. See Nixon v. Warner Commc’ns,

Inc., 435 U.S. 589, 598 (1978) (“access has been denied where court files might have become a

vehicle for improper purposes,” including to harm a litigant’s competitive standing); see also Glass

Dimensions, Inc. v. State St. Corp., No. CV 10-10588, 2013 WL 6280085, at *1 (D. Mass. Dec. 3,

2013) (recognizing a “legitimate and significant interest in protecting . . . sensitive business

information” to “avoid the serious competitive injury that dissemination would more than

likely entail”).

        Defendants respectfully request that the Court seal in their entirety the Combined Network

Plan Documents.




creating a redacted document for public display, but the extent of redactions required would be
so significant as to render the public document completely uninformative. In addition, for the
small amount of information that would not require redaction (e.g., a very high-level description
of the purpose of the transaction), such information can be located in other documents that are or
will be part of the public record, including for example Defendants’ pre-trial brief. See, e.g.,
Defendants’ Pretrial Brief at 19-21, Dkt. No. 290.
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 II.       Examinations Disclosing the Content of the Combined Network Plan Should Be
           Conducted in Closed Session to Safeguard JetBlue’s Future Plans

           To prevent the disclosure of JetBlue’s future network plans during trial, Defendants

request that any examination likely to elicit the contents of the Combined Network Plan

Documents be conducted in a closed courtroom, accessible only to the Court, its staff, and the

parties.

           Defendants understand that closing the courtroom is an extraordinary procedure, but

limited closures are not uncommon in antitrust matters and are typical in merger challenge

litigation. See, e.g., Sabre., 452 F. Supp. 3d at 149 (DOJ merger challenge) (closing courtroom

“to protect competitively sensitive information, such as forward-looking business analyses,

commercial agreements and strategic plans” and citing numerous antitrust cases brought by the

Federal Trade Commission where courts held closed sessions); Pretrial Conf. Tr. 83:1-85:17,

ECF No. 123, United States v. Assa Abloy AB, Spectrum Brands Holdings, Inc., 1:22-cv-2791

(D.D.C.) (DOJ merger challenge) (court permitting the closure of the courtroom for limited

sessions of confidential questioning); Administrative Law Judge’s Order on Complaint Counsel's

Motion for In Camera Treatment, In the Matter of Illumina, Inc., and GRAIL, Inc., FTC Docket

No. 9401 (Aug. 19, 2021) (FTC merger challenge) (granting the government’s motion to keep

several trial exhibits sealed from public disclosure); United States v. Bertelsmann SE & Co.

KGaA, et al., 1:21-cv-2886 (D.D.C.) (DOJ merger challenge) (court allowed parties to bifurcate

witness examination into public and confidential portions”); Pretrial Conf. Tr. 12:3-16:8, ECF

No. 175, United States v. United States Sugar Corp., United Sugars Corp., 1:21-cv-01644

(D. Del.) (DOJ merger challenge) (court permitting closure of courtroom for a “minimal amount

of time”); United States v. AT&T Inc., 310 F. Supp. 3d 161, 188 n.15 (D.D.C. 2018), aff’d sub

nom. United States v. AT&T, Inc., 916 F.3d 1029 (D.C. Cir. 2019) (DOJ merger challenge)


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(holding closed sessions when parties made a “factual proffer necessary to close the

courtroom”); Pretrial Conf. Tr. at 10:17-15:4, ECF No. 352, State of New York, et al. v. Deutsche

Telekom AG, et al., No. 1:19-cv-05434 (S.D.N.Y.) (states Attorney General merger challenge

under Clayton Act) (parties described “limited circumstances” where closing the courtroom may

be necessary in order to “protect . . . sensitive information”); Final Pretrial Order at p. 5-6, ECF

No. 256, FTC, et al. v. Staples, Inc., et al., 1:15-cv-02115 (D.D.C.) (FTC merger challenge)

(permitting closure of courtroom for confidential testimony); Pretrial Conf. Tr. at 60:21-61:6,

ECF No. 332, United States, et al. v. Anthem, Inc., et al., No 1:16-cv-01493 (D.D.C.) (DOJ

merger challenge) (noting that any confidential direct and cross examination, which would

require closing the courtroom, should conducted consecutively); Final Pretrial Order at p. 4, ECF

No. 263, United States v. AB Electrolux, et al., 1:15-cv-1039 (D.D.C.) (DOJ merger challenge)

(permitting closure of courtroom for confidential testimony).

       Defendants understand from the parties’ meet-and-confers that Plaintiffs will argue in

their opposition that closing the courtroom should not be allowed here because it was not

requested by the parties or ordered by Judge Sorokin in a different case involving JetBlue.

United States v. Am. Airlines Grp. Inc., No. CV 21-11558-LTS (D. Mass.) (the “Northeast

Alliance Litigation”). Simply put, the Northeast Alliance Litigation was not a merger challenge

under the Clayton Act, and the business venture at issue in that case had already been

implemented at the time of trial and was already public. That is not the case here. The

Combined Network Plan Documents are among the most competitively sensitive documents at

JetBlue and their public disclosure would cause serious and irreparable competitive harm. See

Rodgers Decl. ¶ 5.




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       As has been done in other merger challenge litigations, Defendants expect that—once the

Court grants this motion—the parties will work together cooperatively to identify which

witnesses are most likely to require a closed session and will be able to structure examinations of

such witnesses to minimize the time that any witness is required to be in closed session.

                                         CONCLUSION

       For the reasons set forth above, Defendants respectfully request that the Court (a) seal the

exhibits in Appendix D in their entirety, (b) order that any examination likely to elicit the

contents of the Combined Network Plan Documents be held in a closed session, and (c) prohibit

counsel from publicly disclosing the contents of the Combined Network Plan Documents at trial,

including during opening or closing arguments, except with respect to the limited, high-level

information that was already made public in the parties’ pre-trial briefs.


Dated: October 25, 2023                               Respectfully submitted,

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                             LOCAL RULE 7.1 CERTIFICATION

       Pursuant to Local Rule 7.1(a)(2), I hereby certify that on multiple occasions, Defendants

met and conferred in good faith with counsel for Plaintiffs to resolve issues related to the

confidentiality of the parties’ trial exhibits contemplated under the Joint Confidentiality Protocol.

                                                              /s/ Leila R. Siddiky
                                                              Leila R. Siddiky




                                 CERTIFICATE OF SERVICE

       I hereby certify that this document was filed through the ECF system on October 25, 2023,

and will be sent electronically to the registered participants as identified on the Notice of

Electronic Filing.

                                                              /s/ Leila R. Siddiky
                                                              Leila R. Siddiky




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